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10    Attorneys for Defendants
      NUTRA HOLDINGS, INC. and
11    NUTRA HOLDINGS TWO, INC.
12                                UNITED STATES DISTRICT COURT
13
                                 SOUTHERN DISTRICT OF CALIFORNIA
14
                                         SAN DIEGO DIVISION
15
        RUSSELL STEPHEN,
16
17                  Plaintiff,                              Case No. 3:24-cv-00546-MLH-BLM

18
                                                          DEFENDANTS NUTRA HOLDINGS,
19                                                        INC. AND NUTRA HOLDINGS TWO,
        NUTRA HOLDINGS, INC.,
20                                                        INC.’S ANSWER AND AFFIRMATIVE
        NUTRA HOLDINGS TWO, INC.,
                                                          DEFENSES TO PLAINTIFF’S
        AMAZON, INC., and JOHN
21                                                        FIRST AMENDED COMPLAINT
        WILLIAMS,
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                   Defendants.
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                                   ANSWER AND AFFIRMATIVE DEFENSES
                     Stephen v. Nutra Holdings, Inc., et al., Case No. 3:24-cv-00546-MLH-BLM
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 1     DEFENDANTS NUTRA HOLDINGS, INC. AND NUTRA HOLDINGS TWO, INC.’S
 2                           ANSWER TO FIRST AMENDED COMPLAINT
 3          Defendants Nutra Holdings, Inc. and Nutra Holdings Two, Inc. (collectively, “Nutra
 4   Holdings”) hereby answer the First Amended Complaint (“FAC”) filed by Plaintiff Russell
 5   Stephen’s (“Plaintiff”) as follows:
 6                                  I.       JURISDICTION AND VENUE
 7          1.         Jurisdiction is proper because Plaintiff is a citizen of California and because all

 8   claims are asserted under the laws of California and relate to a product that is sold in California

 9   and was purchased by Plaintiff in California.

10          ANSWER:

11          Paragraph 1 sets forth legal conclusions to which no response is required. To the

12   extent that a response is required, Nutra Holdings states that it is without knowledge or

13   information sufficient to form a belief as to the truth of Plaintiff’s allegations with respect

14   to his citizenship. Nutra Holdings denies the remaining allegations, innuendo, and legal

15   conclusions contained in Paragraph 1 of the FAC.

16          2.         Venue is proper under Bus. & Prof. Code 17203 because Defendants conduct

17   continuous business in San Diego County and sold hundreds or thousands of the product at issue

18   in this county.

19          ANSWER:

20          Paragraph 2 sets forth legal conclusions to which no response is required. To the

21   extent that a response is required, Nutra Holdings denies the allegations, innuendo, and

22   legal conclusions contained in Paragraph 2 of the FAC.

23                                    II.     NATURE OF THE ACTION

24          3.         Defendant John Williams is an individual and the founder and CEO of Nutra

25   Holdings, Inc. and Nutra Holdings Two, Inc. (collectively “Nutra Holdings”).

26          ANSWER:

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                                       ANSWER AND AFFIRMATIVE DEFENSES
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 1              Nutra Holdings admits that John Williams is the founder and current CEO of Nutra
 2   Holdings. Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions
 3   contained in Paragraph 3 of the FAC.
 4              4.       At Defendant William’s direction, Nutra Holdings manufactures, distributes, and
 5   sells a suite of unapproved new drugs under the “Jacked Factory” brand name, including
 6   Androsurge.
 7              ANSWER:

 8              Nutra Holdings admits that it manufactures, distributes and sells certain

 9   supplements under the brand name “Jacked Factory”, including Androsurge Estrogen

10   Blocker & Test Booster* (“Androsurge product”). Nutra Holdings denies that the

11   Androsurge product is an unapproved drug. Nutra Holdings denies the remaining

12   allegations, innuendo, and legal conclusions contained in Paragraph 4 of the FAC.

13              5.       Williams “oversees everything from marketing to product development.”1 He

14   ordered, authorized, and approved the advertising and sale of Androsurge.

15              ANSWER:

16              Nutra Holdings admits that the webpage—https://nutraholdings.com/about/ —

17   currently states the following: “John leads the overall strategy for Nutra and oversees

18   everything from marketing to product development and acquisitions.” Nutra Holdings

19   denies paragraph 5 to the extent that it mischaracterizes the content of the webpage. The

20   webpage speaks for itself. Nutra Holdings denies the remaining allegations, innuendo, and

21   legal conclusions set forth in Paragraph 5 of the FAC.

22              6.       At Defendant William’s direction, Nutra Holdings markets Androsurge as a

23   purported estrogen blocking and testosterone boosting supplement with claims that suggest the

24   product can deliver benefits akin to those which prescription drugs would provide.

25              ANSWER:

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         https://nutraholdings.com/team/john-williams/
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                                         ANSWER AND AFFIRMATIVE DEFENSES
                           Stephen v. Nutra Holdings, Inc., et al., Case No. 3:24-cv-00546-MLH-BLM
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 1          Nutra Holdings admits that it manufactures, distributes and sells certain
 2   supplements under the brand name “Jacked Factory”, including Androsurge Estrogen
 3   Blocker & Test Booster*. The front label of the Androsurge Product includes the following
 4   statements: “Block Estrogen*”; “Harden Physique*”; “Test Booster*”; “Aromatase
 5   Inhibitor*”. The asterisk leads to the FDA mandated disclosure: “*Statements regarding
 6   dietary supplements have not been evaluated by the FDA and are not intended to diagnose,
 7   treat, cure, or prevent any disease or health condition.” Nutra Holdings denies that the

 8   Androsurge product is an unapproved drug and denies the remaining allegations, innuendo,

 9   and legal conclusions contained in Paragraph 6 of the FAC.

10          7.      These claims are contrary to those allowed by the Food, Drug, and Cosmetic Act,
11   21 U.S.C. § 301 et seq. (“FDCA”), and subject any individual manufacturing or selling it to
12   liability for the sale of an unapproved new drug.
13          ANSWER:
14          Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in
15   Paragraph 7 of the FAC.
16          8.      Nutra Holdings’ representations mislead consumers into believing that

17   Androsurge is safe and effective for its intended purposes.

18          ANSWER:

19          Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

20   Paragraph 8 of the FAC.

21          9.      At all relevant times, Defendant Williams has aided and abetted the

22   manufacturing, marketing, distribution, and sale of Androsurge.

23          ANSWER:

24          Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

25   Paragraph 9 of the FAC.

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                                    ANSWER AND AFFIRMATIVE DEFENSES
                      Stephen v. Nutra Holdings, Inc., et al., Case No. 3:24-cv-00546-MLH-BLM
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 1          10.     Defendant Amazon markets and sells Androsurge, an unapproved drug, online.
 2   Amazon sells Androsurge to consumers throughout California and the United States.
 3          ANSWER:
 4          This allegation is not directed at Nutra Holdings, therefore, no response is required.
 5   To the extent that a response is required, Nutra Holdings denies that the Androsurge
 6   product is an unapproved drug. Nutra Holdings admits that consumers may purchase the
 7   Androsurge product online at amazon.com. Nutra Holdings denies the remaining

 8   allegations, innuendo, and legal conclusions contained in Paragraph 10 of the FAC.

 9          11.     At all relevant times, Defendant Amazon has aided and abetted the marketing,

10   distribution, and sale of Androsurge.

11          ANSWER:

12          This allegation is not directed at Nutra Holdings, therefore, no response is required.

13   To the extent that a response is required, Nutra Holdings denies that the Androsurge product

14   is an unapproved drug. Nutra Holdings admits that consumers may purchase the

15   Androsurge product online at amazon.com. Nutra Holdings denies the remaining

16   allegations, innuendo, and legal conclusions contained in Paragraph 11 of the FAC.

17          12.     Plaintiff Russell Stephen purchased and used Androsurge in reliance upon

18   Defendants’ deceptive and unlawful “drug” claims, and with the belief that the product was sold

19   in compliance with state and federal regulations.

20          ANSWER:

21          Nutra Holdings denies that the Androsurge product makes any deceptive and

22   unlawful “drug” claims. Nutra Holdings further states that it is without knowledge or

23   information sufficient to form a belief as to the truth of the allegations in Paragraph 12

24   regarding Plaintiff’s purported purchase of the Androsurge product, and therefore denies

25   the same. Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions

26   contained in Paragraph 12 of the FAC.

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                                    ANSWER AND AFFIRMATIVE DEFENSES
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 1           13.     Plaintiff used Androsurge as directed, but the product failed to deliver the
 2   advertised benefits, nor any results at all.
 3           ANSWER:
 4           Nutra Holdings states that it is without knowledge or information sufficient to form
 5   a belief as to the truth of the allegations in Paragraph 13 regarding Plaintiff’s purported
 6   purchase and use of the Androsurge product, and therefore denies the same. Nutra Holdings
 7   denies the remaining allegations, innuendo, and legal conclusions contained in Paragraph

 8   13 of the FAC.

 9           14.     Defendants promote Androsurge as capable of providing benefits akin to those

10   prescription drugs would provide, when in truth, Androsurge cannot deliver the advertised

11   benefits.

12           ANSWER:

13           Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

14   Paragraph 14 of the FAC.

15           15.     This action is brought to remedy Defendants’ unfair and unlawful conduct.

16   Plaintiff seeks an order compelling Defendants to, inter alia: (l) cease their illegal marketing and

17   sale of Androsurge as an unapproved new drug; (2) conduct a corrective advertising campaign;

18   (3) destroy all unlawful products and labeling; (4) award Plaintiff restitution and service awards;

19   and (5) pay costs, expenses, and attorney fees.

20           ANSWER:

21           Nutra Holdings denies that Plaintiff is entitled to any relief, including equitable relief

22   and denies the remaining allegations, innuendo, and legal conclusions contained in

23   Paragraph 15 of the FAC.

24                                             III.    PARTIES

25           16.     Defendant Nutra Holdings, Inc. is a Delaware corporation headquartered in St.

26   John’s, Newfoundland.

27           ANSWER:

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                                                             5
                                     ANSWER AND AFFIRMATIVE DEFENSES
                       Stephen v. Nutra Holdings, Inc., et al., Case No. 3:24-cv-00546-MLH-BLM
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 1          Nutra Holdings, Inc. denies that it is a Delaware corporation. Nutra Holdings Inc is
 2   a Canadian Corporation headquartered in St. John's, Newfoundland.
 3          17.    Defendant Nutra Holdings Two, Inc. is a Delaware corporation headquartered in
 4   St. John’s, Newfoundland.
 5          ANSWER:
 6          Nutra Holdings Two, Inc. admits that it is a Delaware corporation and its
 7   headquarters is in St. John’s, Newfoundland.

 8          18.    Nutra Holdings owns, manufactures, distributes, and sells a suite of unapproved

 9   drugs, including Androsurge, under the “Jacked Factory” brand name.

10          ANSWER:

11          Nutra Holdings admits that it manufactures, distributes and sells certain

12   supplements under the brand name “Jacked Factory”, including Androsurge Estrogen

13   Blocker & Test Booster*. Nutra Holdings denies that the Androsurge product is an

14   unapproved drug. Nutra Holdings denies the remaining allegations, innuendo, and legal

15   conclusions contained in Paragraph 18 of the FAC.

16          19.    Nutra Holdings sells “Jacked Factory” products, including Androsurge,

17   throughout California and the United States.

18          ANSWER:

19          Nutra Holdings admits that it manufactures, distributes and sells certain

20   supplements under the brand name “Jacked Factory”, including Androsurge Estrogen

21   Blocker & Test Booster*. Nutra Holdings denies the remaining allegations, innuendo, and

22   legal conclusions contained in Paragraph 19 of the FAC.

23          20.    Defendant John Williams is the founder and CEO of Nutra Holdings.

24          ANSWER:

25          Nutra Holdings admits that John Williams is the founder and current CEO of Nutra

26   Holdings. Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions

27   contained in Paragraph 20 of the FAC.

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                                    ANSWER AND AFFIRMATIVE DEFENSES
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 1          21.     Williams ordered, authorized, and participated in the long-term, fraudulent
 2   advertising scheme complained of herein.
 3          ANSWER:
 4          Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in
 5   Paragraph 21 of the FAC.
 6          22.     Williams ordered, authorized, and participated in the unlawful labeling and sale
 7   of Androsurge complained of herein.

 8          ANSWER:

 9          Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

10   Paragraph 22 of the FAC.

11          23.     Defendant Amazon, Inc. is a Delaware corporation with its principal place of

12   business in Seattle, WA.

13          ANSWER:

14          This allegation is not directed at Nutra Holdings, therefore, no response is required.

15   To the extent that a response is required, Nutra Holdings states that it is without knowledge

16   or information sufficient to form a belief as to the truth of Plaintiff’s allegations regarding

17   Amazon, and therefore denies the allegations, innuendo, and legal conclusions contained in

18   Paragraph 23 of the FAC.

19          24.     Amazon markets and sells Androsurge online to customers throughout California

20   and the United States.

21          ANSWER:

22          This allegation is not directed at Nutra Holdings, therefore, no response is required.

23   To the extent that a response is required, Nutra Holdings admits that consumers may

24   purchase the Androsurge product online at amazon.com. Nutra Holdings denies that the

25   Androsurge product is an unapproved drug and denies the remaining allegations, innuendo,

26   and legal conclusions contained in Paragraph 24 of the FAC.

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                                    ANSWER AND AFFIRMATIVE DEFENSES
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 1          25.     At all relevant times, Defendant Amazon has aided and abetted the marketing,
 2   distribution, and sale of Androsurge.
 3          ANSWER:
 4          This allegation is not directed at Nutra Holdings, therefore, no response is required.
 5   To the extent that a response is required, Nutra Holdings admits that consumers may
 6   purchase the Androsurge product online at amazon.com. Nutra Holdings denies the
 7   remaining allegations, innuendo, and legal conclusions contained in Paragraph 25 of the

 8   FAC.

 9          26.     Plaintiff Russell Stephen is a citizen of California who purchased Androsurge for

10   personal consumption.

11          ANSWER:

12          Nutra Holdings is without knowledge or information sufficient to form a belief as to

13   the truth of Plaintiff’s allegations with respect to his citizenship. To the extent that a

14   response is required, Nutra Holdings denies the allegations, innuendo, and legal conclusions

15   contained in Paragraph 26 of the FAC.

16                     IV.     RELEVANT BACKGROUND INFORMATION

17          27.     The

18             Dietary Supplement Health and Education Act (DSHEA) of 1994, which amended
               the Federal Food, Drug, and Cosmetic Act, transformed FDA’s authority to regulate
19             dietary supplements. Under DSHEA, FDA is not authorized to approve dietary
               supplements for safety and effectiveness before they are marketed. In fact, in many
20             cases, firms can lawfully introduce dietary supplements to the market without even
21             notifying FDA. Since DSHEA was enacted, the dietary supplement market has
               grown significantly. For example, the number of products has expanded nearly
22             twenty times since 1994.2
23          ANSWER:
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               https://www.fda.gov/food/dietary-supplements/information-consumers-using-dietary-
27     supplements
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                                    ANSWER AND AFFIRMATIVE DEFENSES
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 1           The allegations of Paragraph 27 of the FAC consist of legal conclusions to which no
 2    response is required. To the extent that a response is required, Nutra Holdings states that
 3    it is without knowledge or information sufficient to form a belief as to the truth of the
 4    allegations in Paragraph 27 that purport to characterize certain statements allegedly made
 5    on an FDA website, and therefore denies the same. Nutra Holdings denies paragraph 27 to
 6    the extent that it mischaracterizes the content of the website. The alleged website speaks for
 7    itself. Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set

 8    forth in Paragraph 27 of the FAC.

 9           28.     A January 2020 evaluation of ‘Testosterone Boosting’ supplements, published

10    by the National Library of Medicine found that

11              [a]pproximately 50% of American adults consume dietary supplements to promote
                overall health and fill dietary gaps [4,5]. These over the counter “T boosters” are
12              often taken with the hopes of raising endogenous [testosterone] production and
                doing this in a more “natural” manner.3
13
14           ANSWER:

15           Nutra Holdings states that it is without knowledge or information sufficient to form

16    a belief as to the truth of the allegations in Paragraph 28 that purport to characterize certain

17    statements from an article allegedly published in the World Journal of Men’s Health, and

18    therefore denies the same. Nutra Holdings denies paragraph 28 to the extent that it

19    mischaracterizes the content of the publication. The alleged publication speaks for itself.

20    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth

21    in Paragraph 28 of the FAC.

22           29.     Further the same study found 10.1% of supplements “contained components with

23    data suggesting a negative effect” on testosterone and insisted that “[p]atients should be informed

24    that ‘T booster’ supplements may not have ingredients to support their claims.” Id.

25
       3
        Glemesha, Chase (2020)’Testosterone Boosting’ Supplements Composition and Claims Are
26     Not Supported by the Academic Literature; WORLD J MENS HEALTH 2020 Jan 38(1): 115-122.
27     Available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6920068/.

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                                     ANSWER AND AFFIRMATIVE DEFENSES
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 1           ANSWER:
 2           Nutra Holdings states that it is without knowledge or information sufficient to form
 3    a belief as to the truth of the allegations in Paragraph 29 that purport to characterize certain
 4    statements from an article allegedly published in the World Journal of Men’s Health, and
 5    therefore denies the same. Nutra Holdings denies paragraph 29 to the extent that it
 6    mischaracterizes the content of the publication. The alleged publication speaks for itself.
 7    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth
 8    in Paragraph 29 of the FAC.
 9           30.      In February 2019, the Journal of Sexual Medicine published a study titled
10    Testosterone Imposters: An Analysis of Popular Online Testosterone Boosting Supplements,
11    which examined the influence Defendant and similar companies have on the online supplement
12    market.”4
13           ANSWER:
14           Nutra Holdings states that it is without knowledge or information sufficient to form
15    a belief as to the truth of the allegations in Paragraph 30 that purport to characterize certain
16    statements from an article allegedly published in the Journal of Sexual Medicine, and
17    therefore denies the same. Nutra Holdings denies paragraph 30 to the extent that it
18    mischaracterizes the content of the publication. The alleged publication speaks for itself.
19    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth
20    in Paragraph 30 of the FAC.
21           31.      This same study found:
22                The growing role of the internet, combined with the receptiveness of many men to
                  pursuing therapies that influence testosterone levels, emphasizes the importance of
23                understanding T-Boosters hosted on Amazon.com.
24
25     4
        Balasubramanian, et al. Testosterone Imposters: An Analysis of Popular Online Testosterone
26     Boosting Supplements, 16 J. SEXUAL MEDICINE 203-12 (Feb. 2019).
       Available at https://www.sciencedirect.com/science/article/pii/S 1743609518313821.
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                                      ANSWER AND AFFIRMATIVE DEFENSES
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 1
       Id.

 2           ANSWER:

 3           Nutra Holdings states that it is without knowledge or information sufficient to form

 4    a belief as to the truth of the allegations in Paragraph 31 that purport to characterize certain

 5    statements from an article allegedly published in the Journal of Sexual Medicine, and

 6    therefore denies the same. Nutra Holdings denies paragraph 31 to the extent that it

 7    mischaracterizes the content of the publication. The alleged publication speaks for itself.

 8    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth

 9    in Paragraph 31 of the FAC.

10           32.     Although the study found that “T-Boosters are easily available online,” the

11    “investigation revealed that limited human studies have evaluated T-Boosters, resulting in no

12    definitive findings of efficacy,” and additionally warned that “[i]n the absence of additional

13    human studies, patients should be cautioned before considering T-Boosters, given the availability

14    of highly effective therapies approved by the Food and Drug Administration.” Id.

15           ANSWER:

16           Nutra Holdings states that it is without knowledge or information sufficient to form

17    a belief as to the truth of the allegations in Paragraph 32 that purport to characterize certain

18    statements from an article allegedly published in the Journal of Sexual Medicine, and

19    therefore denies the same. Nutra Holdings denies paragraph 32 to the extent that it

20    mischaracterizes the content of the publication. The alleged publication speaks for itself.

21    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth

22    in Paragraph 32 of the FAC.

23           33.     Moreover, consumption of over the counter “natural” or “herbal” purported

24    testosterone boosters presents significant health risks. First, consumers risk purchasing and using

25    a product that will endanger their health. Second, consumers risk purchasing a product that will

26    not effectively treat their condition, forgoing actual treatment of that condition in lieu of an

27    unapproved new drug which may not treat their condition.

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 1            ANSWER:
 2            Nutra Holdings states that it is without knowledge or information sufficient to form
 3    a belief as to the truth of the allegations in Paragraph 33 that purport to provide a
 4    rudimentary summary of the purported risks associated with the consumption of
 5    testosterone boosters, and therefore denies the same. The scientific evidence on this topic is
 6    significantly more complex than as set forth in Paragraph 33. Nutra Holdings denies the
 7    remaining allegations, innuendo, and legal conclusions set forth in Paragraph 33 of the
 8    FAC.
 9            34.     A 2017 case report examining a patient who had consumed one such purported
10    “natural” testosterone booster found “[t]he risk of venous thromboembolic events is” “unclear
11    with non-FDA approved herbal supplements marketed as testosterone enhancers.”5
12            ANSWER:
13            Nutra Holdings states that it is without knowledge or information sufficient to form
14    a belief as to the truth of the allegations in Paragraph 34 that purport to characterize certain
15    statements from an article allegedly published in the Cureus Journal of Medical Science, and
16    therefore denies the same. Nutra Holdings denies paragraph 34 to the extent that it

17    mischaracterizes the content of the publication. The alleged publication speaks for itself.

18    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth

19    in Paragraph 34 of the FAC.

20            35.     The study noted that:

21               Decreased testosterone levels in men are often a normal sign of aging. Testosterone
                 replacement therapy (TRT) is a well-established option for those with symptomatic
22               hypogonadism related to low testosterone levels. Conversely, designer herbal
                 supplements in the context of testosterone supplementation are poorly studied, yet
23
                 remain popular among aging men who seek the well-known, often enhancing,
24               effects of testosterone that involve muscle mass and sexual function/drive.

25
26    5
       Nguyen S M, Ko Ko N, Sattar A S, et al. (August 06, 2017) Pulmonary’ Embolism Secondary to Testosterone-
      Enhancing Herbal Supplement Use. Cureus 9(8): el 545. DOI 10.7759/cureus.1545. Available at
27    https://pubmed.ncbi.nlm.nih.gov/29018642/.

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                                      ANSWER AND AFFIRMATIVE DEFENSES
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       Id.
 1
 2           ANSWER:
 3           Nutra Holdings states that it is without knowledge or information sufficient to form

 4    a belief as to the truth of the allegations in Paragraph 35 that purport to characterize certain

 5    statements from an article allegedly published in the Cureus Journal of Medical Science, and

 6    therefore denies the same. Nutra Holdings denies paragraph 35 to the extent that it

 7    mischaracterizes the content of the publication. The alleged publication speaks for itself.

 8    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth

 9    in Paragraph 35 of the FAC.

10           36.         The study further noted that

11              [i]n 2014, the Food and Drug Administration (FDA) issued a warning about the
                significant risk of venous clots secondary to testosterone product use. Testosterone-
12              induced polycythemia is one of the proposed mechanisms for this increased clotting
                propensity. Increased thromboxane A2 receptor density on platelets and increased
13              platelet aggregation have also been linked to testosterone treatment in men.
14                 Id.
15
             ANSWER:
16           Nutra Holdings states that it is without knowledge or information sufficient to form
17    a belief as to the truth of the allegations in Paragraph 36 that purport to characterize certain
18    statements from an article allegedly published in the Cureus Journal of Medical Science, and
19    therefore denies the same. Nutra Holdings denies paragraph 36 to the extent that it
20    mischaracterizes the content of the publication. The alleged publication speaks for itself.
21    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth
22    in Paragraph 36 of the FAC.

23           37.         Thus, there is “is an inherent risk for vascular events, such as pulmonary embolus,

24    in testosterone supplement use.” Id.

25           ANSWER:

26           Nutra Holdings states that it is without knowledge or information sufficient to form
27    a belief as to the truth of the allegations in Paragraph 37 that purport to characterize certain
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                                                                 13
                                         ANSWER AND AFFIRMATIVE DEFENSES
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 1    statements from an article allegedly published in the Cureus Journal of Medical Science, and
 2    therefore denies the same. Nutra Holdings denies paragraph 37 to the extent that it
 3    mischaracterizes the content of the publication. The alleged publication speaks for itself.
 4    Nutra Holdings denies the remaining allegations, innuendo, and legal conclusions set forth
 5    in Paragraph 37 of the FAC.
 6        V.         REGULATORY BACKGROUND REGARDING UNAPPROVED DRUGS
 7             38.     “The term ‘drug’ means . . . (B) articles intended for use in the diagnosis, cure,

 8    mitigation, treatment, or prevention of disease in man or other animals; and (C) articles (other

 9    than food) intended to affect the structure or any function of the body of man or other animals.”

10    21 U.S.C. § 32l(g)(l).

11             ANSWER:

12             The allegations of Paragraph 38 of the FAC consist of legal conclusions to which no
13    response is required. To the extent that a response is required, Nutra Holdings denies the
14    allegations in Paragraph 38 to the extent that they mischaracterize, misstate and misapply
15    relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,
16    and legal conclusions set forth in Paragraph 38 of the FAC.

17             39.     A “new drug” is any drug “not generally recognized, among experts qualified by

18    scientific training and experience to evaluate the safety and effectiveness of drugs, as safe and

19    effective for use under the condition prescribed, recommended, or suggested in the labeling

20    thereof . .” 21 U.S.C. § 321(p)(l).

21             ANSWER:

22             The allegations of Paragraph 39 of the FAC consist of legal conclusions to which no
23    response is required. To the extent that a response is required, Nutra Holdings denies the
24    allegations in Paragraph 39 to the extent that they mischaracterize, misstate and misapply
25    relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,
26    and legal conclusions set forth in Paragraph 39 of the FAC.
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 1           40.    Pursuant to 21 U.S.C § 355(a), “No person shall introduce or deliver for
 2    introduction into interstate commerce any new drug . . .” without approval by the FDA.
 3           ANSWER:
 4           The allegations of Paragraph 40 of the FAC consist of legal conclusions to which no
 5    response is required. To the extent that a response is required, Nutra Holdings denies the
 6    allegations in Paragraph 40 to the extent that they mischaracterize, misstate and misapply
 7    relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,

 8    and legal conclusions set forth in Paragraph 40 of the FAC.

 9           41.    Further, 21 U.S.C. § 331(a) prohibits the “introduction or delivery for introduction

10    into interstate commerce of any food, drug, device, tobacco product, or cosmetic that is

11    adulterated or misbranded.”

12           ANSWER:

13           The allegations of Paragraph 41 of the FAC consist of legal conclusions to which no

14    response is required. To the extent that a response is required, Nutra Holdings denies the

15    allegations in Paragraph 41 to the extent that they mischaracterize, misstate and misapply

16    relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo, and

17    legal conclusions set forth in Paragraph 41 of the FAC.

18           42.    Under 21 U.S.C. § 352(f), drugs are required to have adequate instructions for safe

19    use.

20           ANSWER:

21           The allegations of Paragraph 42 of the FAC consist of legal conclusions to which no

22    response is required. To the extent that a response is required, Nutra Holdings denies the

23    allegations in Paragraph 42 to the extent that they mischaracterize, misstate and misapply

24    the relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,

25    and legal conclusions set forth in Paragraph 42 of the FAC.

26           43.    Pursuant to Title 21 of the code of Federal Regulations, Part 310.528 (21 C.F.R. §

27    310.528) any OTC drug product that is labeled, represented, or promoted for use as an

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 1    aphrodisiac, is regarded as a “new drug” within the meaning of section 201(p) of the FDCA
 2    (located at 21 U.S.C. § 355(p)).
 3               ANSWER:
 4               The allegations of Paragraph 43 of the FAC consist of legal conclusions to which no
 5    response is required. To the extent that a response is required, Nutra Holdings denies the
 6    allegations in Paragraph 43 to the extent that they mischaracterize, misstate and misapply
 7    the relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,
 8    and legal conclusions set forth in Paragraph 43 of the FAC.
 9             VI.      THE SALE OF UNAPPROVED DRUGS ENDANGERS THE PUBLIC.
10               44.     Unapproved new drugs “pose significant risks to patients because they have not
11    been reviewed by FDA for safety, effectiveness or quality.’’6
12               ANSWER:
13               Nutra Holdings states that it is without knowledge or information sufficient to form
14    a belief as to the truth of the allegations in Paragraph 44 that purport to characterize certain
15    statements allegedly published on an FDA webpage, and therefore denies the same. Nutra
16    Holdings denies paragraph 44 to the extent that it mischaracterizes the content of the
17    webpage. The alleged publication speaks for itself. Nutra Holdings denies the remaining
18    allegations, innuendo, and legal conclusions set forth in Paragraph 44 of the FAC.
19               45.      “Without FDA review, there is no way to know if these drugs are safe and
20    effective for their intended use, whether they are manufactured in a way that ensures consistent
21    drug quality or whether their label is complete and accurate.” Id.
22               ANSWER:

23               Nutra Holdings states that it is without knowledge or information sufficient to form

24    a belief as to the truth of the allegations in Paragraph 45 that purport to characterize certain

25    statements allegedly published on an FDA webpage, and therefore denies the same. Nutra

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27        https://mvw.fda.gov/drugs/enforcement-activities-fda/unapproved-drugs.

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                                          ANSWER AND AFFIRMATIVE DEFENSES
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 1    Holdings denies paragraph 45 to the extent that it mischaracterizes the content of the
 2    webpage. The alleged publication speaks for itself. Nutra Holdings denies the remaining
 3    allegations, innuendo, and legal conclusions set forth in Paragraph 45 of the FAC.
 4               46.     “Unapproved drugs have resulted in patient harm, and the [FDA] works to protect
 5    patients from the risks posed by these drugs.” Id.
 6               ANSWER:
 7               Nutra Holdings states that it is without knowledge or information sufficient to form

 8    a belief as to the truth of the allegations in Paragraph 46 that purport to characterize certain

 9    statements allegedly published on an FDA webpage, and therefore denies the same. Nutra

10    Holdings denies paragraph 46 to the extent that it mischaracterizes the content of the

11    webpage. The alleged publication speaks for itself. Nutra Holdings denies the remaining

12    allegations, innuendo, and legal conclusions set forth in Paragraph 46 of the FAC.

13               47.     Further, unapproved drugs lack “labels and prescribing information that has”

14    “been reviewed by FDA for accuracy and completeness.”7

15               ANSWER:

16               Nutra Holdings states that it is without knowledge or information sufficient to form
17    a belief as to the truth of the allegations in Paragraph 47 that purport to characterize certain
18    statements allegedly published on an FDA webpage, and therefore denies the same. Nutra
19    Holdings denies paragraph 47 to the extent that it mischaracterizes the content of the

20    webpage. The alleged publication speaks for itself. Nutra Holdings denies the remaining

21    allegations, innuendo, and legal conclusions set forth in Paragraph 47 of the FAC.

22               48.     Consumers using unapproved drugs also run the risk of “unexpected and

23    undocumented safety concerns due to lack of rigorous pre- and postmarket safety surveillance.”

24    Id.

25               ANSWER:

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          https://www.fda.gov/drugs/enforcement-activities-fda/unapproved-drugs-and-patient-harm.
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                                          ANSWER AND AFFIRMATIVE DEFENSES
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 1             Nutra Holdings states that it is without knowledge or information sufficient to form
 2    a belief as to the truth of the allegations in Paragraph 48 that purport to characterize certain
 3    statements allegedly published on an FDA webpage, and therefore denies the same. Nutra
 4    Holdings denies paragraph 48 to the extent that it mischaracterizes the content of the
 5    webpage. The alleged publication speaks for itself. Nutra Holdings denies the remaining
 6    allegations, innuendo, and legal conclusions set forth in Paragraph 48 of the FAC.
 7             49.    Additionally, unapproved drugs lead consumers in need of medical treatment to

 8    forego medically proven therapies.

 9             ANSWER:

10             Nutra Holdings denies that the Androsurge product is an unapproved drug. Nutra

11    Holdings denies the remaining allegations, innuendo, and legal conclusions contained in

12    Paragraph 49 of the FAC.

13      VII.     DEFENDANTS MARKET AND SELL ANDROSURGE WITH DECEPTIVE

14                                       AND UNLAWFUL “DRUG” CLAIMS.

15             50.    Defendants market and sell Androsurge with claims which suggest that the

16    product can affect the structure or function of the human body and cure, mitigate, or treat disease.

17             ANSWER:

18             Nutra Holdings denies that the Androsurge product is an unapproved drug. Nutra

19    Holdings denies the remaining allegations, innuendo, and legal conclusions contained in

20    Paragraph 50 of the FAC.

21             51.    These claims render Androsurge a “drug.”

22             ANSWER:

23             Nutra Holdings denies that the allegations, innuendo, and legal conclusions

24    contained in Paragraph 51 of the FAC.

25             52.    However, Defendants failed to obtain FDA approval to market and distribute

26    Androsurge in violation 21 U.S.C. § 355.

27             ANSWER:

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 1           Nutra Holdings denies that the Androsurge product is an unapproved drug. Nutra
 2    Holdings denies the remaining allegations, innuendo, and legal conclusions contained in
 3    Paragraph 52 of the FAC.
 4           53.     Defendants manufactured, marketed, distributed, and sold Androsurge Estrogen
 5    Blocker & Test Booster (“Androsurge”) in packaging bearing claims which suggest the product
 6    can mitigate, cure, or treat hormonal imbalance and affect the structure and function of the human
 7    body by increasing testosterone and decreasing estrogen.

 8           ANSWER:

 9           Nutra Holdings admits that it manufactures, distributes and sells certain

10    supplements under the brand name “Jacked Factory”, including Androsurge Estrogen

11    Blocker & Test Booster*. The front label of the Androsurge Product includes the following

12    statements: “Block Estrogen*”; “Harden Physique*”; “Test Booster*”; “Aromatase

13    Inhibitor*”. The asterisk leads to the FDA mandated disclosure: “*Statements regarding

14    dietary supplements have not been evaluated by the FDA and are not intended to diagnose,

15    treat, cure, or prevent any disease or health condition.” Nutra Holdings denies that the

16    Androsurge product is an unapproved drug and denies the remaining allegations, innuendo,

17    and legal conclusions contained in Paragraph 53 of the FAC.

18           54.     Specifically, the Androsurge label claims the product is an “estrogen blocker and

19    testosterone booster” and “aromatase inhibitor” which can “block estrogen,” and “harden

20    physique.”

21           ANSWER:

22           Nutra Holdings admits that it manufactures, distributes and sells certain
23    supplements under the brand name “Jacked Factory”, including Androsurge Estrogen
24    Blocker & Test Booster*. The front label of the Androsurge Product includes the following
25    statements: “Block Estrogen*”; “Harden Physique*”; “Test Booster*”; “Aromatase
26    Inhibitor*”. The asterisk leads to the FDA mandated disclosure: “*Statements regarding
27    dietary supplements have not been evaluated by the FDA and are not intended to diagnose,

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 1    treat, cure, or prevent any disease or health condition.” Nutra Holdings denies that the
 2    Androsurge product is an unapproved drug and denies the remaining allegations, innuendo,
 3    and legal conclusions contained in Paragraph 54 of the FAC.
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 1           55.     Further, Defendants advertised Androsurge with claims that suggest the product
 2    can provide benefits akin to those of a prescription drug.
 3           ANSWER:
 4           Nutra Holdings admits that it manufactures, distributes and sells certain
 5    supplements under the brand name “Jacked Factory”, including Androsurge Estrogen
 6    Blocker & Test Booster*. The front label of the Androsurge Product includes the following
 7    statements: “Block Estrogen*”; “Harden Physique*”; “Test Booster*”; “Aromatase

 8    Inhibitor*”. The asterisk leads to the FDA mandated disclosure: “*Statements regarding

 9    dietary supplements have not been evaluated by the FDA and are not intended to diagnose,

10    treat, cure, or prevent any disease or health condition.” Nutra Holdings denies that the

11    Androsurge product is an unapproved drug and denies the remaining allegations, innuendo,

12    and legal conclusions contained in Paragraph 55 of the FAC.

13           56.     The Androsurge label, Nutra Holdings’ “Jacked Factory” website, and

14    Defendants’ Amazon page for Androsurge contained the following claims, which show the

15    product is intended to affect the structure and function of the body, and to cure, mitigate, treat, or

16    prevent disease:

17         • “Estrogen Blocker & Testosterone Booster”
18         • “Test Booster”
19         • “Blocks Estrogen”
20
           • “Improves Physique”
21
           • “Harden Physique”
22
23
           • “Aromatase Inhibitor”
24         • “Improves Strength”
25         • “Elite Estrogen Blocker for Men”
26
           • “Elite Estrogen Blocker for Men: Androsurge is the first scientifically-dosed, non-
27            proprietary blend, all-natural estrogen reducing supplement for men. Featuring

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             research-supported ingredients such as grape seed extract and diindolylmethane
 1
             (DIM).”
 2
          • “Optimize your natural potential for maximum muscle building. Androsurge works as
 3           a muscle builder by promoting muscle fullness during your training and reduce muscle
 4           catabolism.”

 5        • “Energy, Vitality, and Libido: Androsurge helps boost your overall energy levels so
 6           you can power through your day, workout sessions, & life with a sense of vitality
             you’ve never felt before. Feel an improvement in overall confidence, a boost in drive,
 7           a reduction of stress, and a relentless alpha drive.”
 8
          • “Increase Focus & Gain Sharp Mental Clarity: Experience reduced brain fog and
 9           precision focus. Androsurge is the perfect supplement to keep you dialed in during
             your workouts or workday.”
10
11        • “Be confident that each bottle of Androsurge is free from impurities and safe.”
12        • “Estrogen Blocker & Physique Hardening Agent”
13        • “Aromatase Inhibitor & Natural Test Booster”
14
          • “Supports Muscle Growth & Fat Loss”
15
            ANSWER:
16
17          Nutra Holdings admits that it manufactures, distributes and sells certain
18    supplements under the brand name “Jacked Factory”, including Androsurge Estrogen
19    Blocker & Test Booster*. The front label of the Androsurge Product includes the following

20    statements: “Block Estrogen*”; “Harden Physique*”; “Test Booster*”; “Aromatase

21    Inhibitor*”. The asterisk leads to the FDA mandated disclosure: “*Statements regarding

22    dietary supplements have not been evaluated by the FDA and are not intended to diagnose,

23    treat, cure, or prevent any disease or health condition.” Nutra Holdings admits that some

24    of the language identified in paragraph 56 appeared, at least in part, on Nutra Holdings’

25    Jacked Factory website, and the Jacked Factory amazon store. Nutra Holdings denies

26    paragraph 56 to the extent that it mischaracterizes the content of the Jacked Factory

27    website and amazon store website. The websites speak for themselves. Nutra Holdings

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 1    denies that the Androsurge product is an unapproved drug and denies the remaining
 2    allegations, innuendo, and legal conclusions contained in Paragraph 56 of the FAC.
 3           57.     These claims suggest that Androsurge can decrease estrogen levels, increase
 4    testosterone levels, treat hormonal imbalance, and act as an aphrodisiac. Further, the claims
 5    render Androsurge a “drug” within the meaning of 21 U.S.C. 321(g)(1) and an “aphrodisiac
 6    drug” within the meaning of 21 C.F.R. 310.528.
 7           ANSWER:

 8           Nutra Holdings denies that the Androsurge product is an unapproved drug and

 9    denies the remaining allegations, innuendo, and legal conclusions contained in Paragraph

10    57 of the FAC.

11           58.     A true and correct copy of the Androsurge page from Nutra Holdings’ “Jacked

12    Factory” website is attached hereto as Exhibit 1.

13           ANSWER:

14           Nutra Holdings admits that Exhibit 1 is a snapshot of the Androsurge page taken at

15    one point in time from Nutra Holdings’ “Jacked Factory” website. Nutra Holdings denies

16    that Exhibit 1 is a complete depiction of the Androsurge page from the Jacked Factory

17    website. Nutra Holdings denies paragraph 58 to the extent that it mischaracterizes the

18    content of the Jacked Factory website. The website speaks for itself. Nutra Holdings denies

19    the remaining allegations, innuendo, and legal conclusions contained in Paragraph 58 of the

20    FAC.

21           59.     The FDA maintains a database of drugs which it has approved at

22    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.

23           ANSWER:

24           Nutra            Holdings              admits             that            the       website

25    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm is titled “Drugs@FDA: FDA-

26    Approved Drugs” and states that “Drugs@FDA includes information about drugs,

27    including biological products, approved for human use in the United States (see FAQ), but

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 1    does not include information about FDA-approved products regulated by the Center for
 2    Biologics Evaluation and Research (for example, vaccines, allergenic products, blood and
 3    blood products, plasma derivatives, cellular and gene therapy products).” Nutra Holdings
 4    denies paragraph 59 to the extent that it mischaracterizes the content of the FDA webpage.
 5    The webpage speaks for itself. Nutra Holdings denies the remaining allegations, innuendo,
 6    and legal conclusions contained in Paragraph 59 of the FAC.
 7           60.     Attached hereto as Exhibit 2 are search results from this FDA database, showing

 8    that the search term “Androsurge” “did not return any results.”

 9           ANSWER:

10           Nutra            Holdings              admits             that            the       website

11    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm is titled “Drugs@FDA: FDA-

12    Approved Drugs” and states that “Drugs@FDA includes information about drugs,

13    including biological products, approved for human use in the United States (see FAQ), but

14    does not include information about FDA-approved products regulated by the Center for

15    Biologics Evaluation and Research (for example, vaccines, allergenic products, blood and

16    blood products, plasma derivatives, cellular and gene therapy products).” Nutra Holdings

17    denies paragraph 60 to the extent that it mischaracterizes the content of the FDA webpage.

18    The webpage speaks for itself. Nutra Holdings denies the remaining allegations, innuendo,

19    and legal conclusions contained in Paragraph 60 of the FAC.

20           61.     Thus, Defendants failed to obtain FDA approval prior to marketing, distributing,

21    and selling Androsurge.

22           ANSWER:

23           Nutra Holdings denies that the Androsurge product is an unapproved drug and

24    denies the remaining allegations, innuendo, and legal conclusions contained in Paragraph

25    61 of the FAC.

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 1                       VIII. ANDROSURGE IS AN UNAPPROVED DRUG.
 2           62.     The term ‘drug’ means . . . (B) articles intended for use in the diagnosis, cure,
 3    mitigation, treatment, or prevention of disease in man or other animals; and (C) articles (other
 4    than food) intended to affect the structure or any function of the body of man or other animals.”
 5    21 U.S.C. § 321(g)(1).
 6           ANSWER:
 7           The allegations of Paragraph 62 of the FAC consist of legal conclusions to which no

 8    response is required. To the extent that a response is required, Nutra Holdings denies the

 9    allegations in Paragraph 62 to the extent that they mischaracterize, misstate and misapply

10    the relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,

11    and legal conclusions set forth in Paragraph 62 of the FAC.

12           63.     Here, Androsurge is a “drug” for regulatory purposes because it is advertised as a

13    product which will cure, mitigate, treat, or prevent disease such as hormonal imbalance or low

14    testosterone and which will affect the structure or function of the body by increasing testosterone

15    levels, decreasing estrogen levels, enhancing libido, and improving physique.

16           ANSWER:

17           Nutra Holdings denies that the Androsurge product is an unapproved drug and

18    denies the remaining allegations, innuendo, and legal conclusions contained in Paragraph

19    63 of the FAC.

20           64.     The claims on the packaging and website of Androsurge render it an unapproved

21    new drug.

22           ANSWER:

23           Nutra Holdings denies that the Androsurge product is an unapproved drug and

24    denies the remaining allegations, innuendo, and legal conclusions contained in Paragraph

25    64 of the FAC.

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 1           65.     The FDA has determined that the following claims, which are similar to those
 2    Defendants make regarding Androsurge, constitute “drug claims”:
 3         • “Natural testosterone booster” (Exhibit 3, FDA Warning Letter to Unlimited Nutrition);
 4
           • “[I]ncrease estrogen and testosterone levels” (Exhibit 4, FDA Warning Letter to Star
 5           Health &
 6         • Beauty, LLC);
 7
           • “Increase Lean Muscle Mass” (Exhibit 4);
 8
           • “Highly anabolic” (Exhibit 5, FDA Warning Letter to AndroPharm, LLC);
 9
           • “Increase Muscle Mass” (Exhibit 5);
10
11         • “Activate Numerous Anabolic Pathways” (Exhibit 5);

12         • “Explosive Muscle & Strength Gains” (Exhibit 5)
13           ANSWER:

14           Nutra Holdings states that it is without knowledge or information sufficient to form

15    a belief as to the truth of Plaintiff’s allegations which purport to summarize certain

16    Warning Letters issued by the FDA, and therefore denies the same. Nutra Holdings denies

17    the allegations in paragraph 65 to the extent that they misstate and mischaracterize the FDA

18    Warning Letters. Those documents speak for themselves. Nutra Holdings denies the

19    remaining allegations, innuendo, and legal conclusions contained in Paragraph 65 of the

20    FAC.

21           66.     A “new drug” is any drug “not generally recognized, among experts qualified by

22    scientific training and experience to evaluate the safety and effectiveness of drugs, as safe and

23    effective for use under the condition prescribed, recommended, or suggested in the labeling

24    thereof . . . . “21 U.S.C. § 321(p)(l). Here, Androsurge is a “new drug” within the meaning of

25    the FDCA because it is not generally recognized as safe and effective for its intended uses. See

26    Title 21 of the Code of Federal Regulations, Chapter I, Subchapter D; 21 C.F.R. § 330.1.

27           ANSWER:

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 1           The allegations of Paragraph 66 of the FAC consist of legal conclusions to which no
 2    response is required. To the extent that a response is required, Nutra Holdings denies the
 3    allegations in Paragraph 66 to the extent that they mischaracterize, misstate and misapply
 4    the relevant and applicable law. Nutra Holdings further denies that the Androsurge product
 5    is an “unapproved” or “new” drug. Nutra Holdings denies the remaining allegations,
 6    innuendo, and legal conclusions set forth in Paragraph 66 of the FAC.
 7           67.     “No person shall introduce or deliver for introduction into interstate commerce

 8    any new drug . . . .” without approval by the FDA. 21 U.S.C 355(a); see also 21 U.S.C. 331(d).

 9           ANSWER:

10           The allegations of Paragraph 67 of the FAC consist of legal conclusions to which no

11    response is required. To the extent that a response is required, Nutra Holdings denies the

12    allegations in Paragraph 67 to the extent that they mischaracterize, misstate and misapply

13    the relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,

14    and legal conclusions set forth in Paragraph 67 of the FAC.

15           68.     Defendants have not received approval from the FDA to sell Androsurge.

16           ANSWER:

17           Nutra Holdings denies that the Androsurge product is an “unapproved” drug. Nutra

18    Holdings denies the remaining allegations, innuendo, and legal conclusions set forth in

19    Paragraph 68 of the FAC.

20           69.     The sale of unapproved new drugs is illegal and dangerous. First, consumers risk

21    purchasing and using a product that will endanger their health. Second, consumers risk purchasing

22    a product that will not effectively treat their condition, forgoing actual treatment of that condition

23    in lieu of an unapproved new drug which may not treat their condition. The FDA’s regulatory

24    regimen helps ensure that such products are kept away from consumers.

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 1           ANSWER:
 2           Nutra Holdings denies that the Androsurge product is an “unapproved” drug and
 3    therefore the allegations in paragraph 69 are irrelevant. Nutra Holdings denies the
 4    remaining allegations, innuendo, and legal conclusions set forth in Paragraph 69 of the FAC.
 5           70.     Defendants’ failure to comply with these regulations puts consumers at risk and
 6    gives them an unfair advantage over competitors that do commit the time and expense of
 7    complying with such necessary regulations.

 8           ANSWER:

 9           Nutra Holdings denies that the Androsurge product is an “unapproved” drug and

10    therefore the allegations in paragraph 70 are irrelevant. Nutra Holdings denies the

11    remaining allegations, innuendo, and legal conclusions set forth in Paragraph 70 of the FAC.

12           71.     Androsurge does not qualify for the reduced level of regulation applicable to

13    certain nutrition supplement products for several reasons. The challenged marketing materials

14    neither describe the role of any nutrient or dietary ingredient intended to affect the structure or

15    function in humans, characterize the documented mechanism by which any nutrient or dietary

16    ingredient acts to maintain such structure or function, nor describe general well-being from

17    consumption of any nutrient or dietary ingredient. 21 U.S.C. § 343(r)(6)(A).

18           ANSWER:

19           The allegations of Paragraph 71 of the FAC consist of legal conclusions to which no

20    response is required. To the extent that a response is required, Nutra Holdings denies the

21    allegations, innuendo, and legal conclusions set forth in Paragraph 71 of the FAC.

22           72.     California also prohibits the sale of unapproved new drugs. Health & Saf. Code §

23    111550.

24           ANSWER:

25           The allegations of Paragraph 72 of the FAC consist of legal conclusions to which no

26    response is required. To the extent that a response is required, Nutra Holdings denies that

27    the Androsurge product is an “unapproved” drug and therefore the allegations in paragraph

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                                                             28
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 1    72 are irrelevant. Nutra Holdings denies the remaining allegations, innuendo, and legal
 2    conclusions set forth in Paragraph 72 of the FAC.
 3
 4               IX. DEFENDANTS’ ADVERTISING FOR ANDROSURGE IS DECEPTIVE
 5                       ANDMISLEADING RENDERING THE PRODUCTS MISBRANDED.
 6              73.     It is unlawful to manufacture or sell misbranded drugs. 21 U.S.C. § 331(a), (b),
 7    (c), & (g).

 8              ANSWER:

 9              The allegations of Paragraph 73 of the FAC consist of legal conclusions to which no

10    response is required. To the extent that a response is required, Nutra Holdings denies the

11    allegations in Paragraph 73 to the extent that they mischaracterize, misstate and misapply

12    the relevant and applicable law. Nutra Holdings further denies that the Androsurge product

13    is an “unapproved” or “misbranded” drug. Nutra Holdings denies the remaining allegations,

14    innuendo, and legal conclusions set forth in Paragraph 73 of the FAC.

15              74.     A drug is misbranded if “its labeling is false or misleading in any particular.”8 21

16    U.S.C. § 352(a)(1).

17                  If an article is alleged to be misbranded because the labeling or advertising is
                    misleading, then in determining whether the labeling or advertising is misleading
18                  there shall be taken into account (among other things) not only representations made
                    or suggested by statement, word, design, device, or any combination thereof, but
19                  also the extent to which the labeling or advertising fails to reveal facts material in
20                  the light of such representations or material with respect to consequences which
                    may result from the use of the articles to which the labeling or advertising relates
21                  under the conditions of use prescribed in the labeling or advertising thereof or under
                    such conditions of use as are customary or usual.
22
          21 U.S.C.S. § 321(n).
23
24              ANSWER:
25
26
      8
       Under the FDCA, “‘labeling’ means all labels and other written, printed, or graphic matters (1) upon any article or
27    any of its containers or wrappers, or (2) accompanying such article.” 21 U.S.C. 321(m). This includes websites
      associated with the products.” See Sandoval v. Pharmacare US, Inc., 730 Fed. App’x 417, 420 (9th Cir. 2018).
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                                        ANSWER AND AFFIRMATIVE DEFENSES
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 1           The allegations of Paragraph 74 of the FAC consist of legal conclusions to which no
 2    response is required. To the extent that a response is required, Nutra Holdings denies the
 3    allegations in Paragraph 74 to the extent that they mischaracterize, misstate and misapply
 4    the relevant and applicable law. Nutra Holdings further denies that the Androsurge product
 5    is an “unapproved” or “misbranded” drug. Nutra Holdings denies the remaining allegations,
 6    innuendo, and legal conclusions set forth in Paragraph 74 of the FAC.
 7           75.     Defendants’ deceptive efficacy representations regarding Androsurge described

 8    herein render the product misbranded pursuant to Cal. Health & Saf. Code § 110100 (adopting

 9    all FDA labeling regulations as state regulations), § 110398 (“It is unlawful for any person to

10    advertise any food, drug, device, or cosmetic that is adulterated or misbranded.”), § 111330

11    (drug label misbranded if false or misleading in any particular), and further violate Cal. Bus. &

12    Prof. Code § 17200 (Unfair Competition Law “Fraudulent” Prong) § 17500 (False Advertising

13    Law) and Cal. Civ. Code § 1750 (CLRA).

14           ANSWER:

15           The allegations of Paragraph 73 of the FAC consist of legal conclusions to which no

16     response is required. To the extent that a response is required, Nutra Holdings denies the

17     allegations, innuendo, and legal conclusions set forth in Paragraph 75 of the FAC.

18           76.     Because Androsurge claims to treat conditions not amenable to self-diagnosis,

19    directions are not and likely cannot be written such that a layperson can safely use this product

20    to treat those conditions. The label of Androsurge therefore lacks “adequate directions for use,”

21    rendering the product misbranded. 21 U.S.C. § 352(f)(1); see also § 21 C.F.R. 201.5 (“‘Adequate

22    directions for use’ means directions under which the layman can use a drug safely and for the

23    purposes for which it is intended.”).

24           ANSWER:

25           The allegations of Paragraph 73 of the FAC consist of legal conclusions to which no

26    response is required. To the extent that a response is required, Nutra Holdings denies the

27    allegations, innuendo, and legal conclusions set forth in Paragraph 76 of the FAC.

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 1            77.      Plaintiff used Androsurge as directed, but it failed to deliver the advertised
 2    benefits.
 3            ANSWER:
 4            Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 5    Paragraph 77 of the FAC.
 6                X.     DEFENDANTS FAILED TO COMPLY WITH 21 C.F.R. 101.5.
 7            78.      Pursuant to 21 C.F.R. § 101.5 §§ (a)-(b),

 8                     (a)   The label of a food in packaged form shall specify conspicuously the
 9                     name and place of business of the manufacturer, packer, or distributor.
                       (b)     The requirement for declaration of the name of the manufacturer,
10
                       packer, or distributor shall be deemed to be satisfied, in the case of a
11                     corporation, only by the actual corporate name, which may be preceded or
12                     followed by the name of the particular division of the corporation. In the case
                       of an individual, partnership, or association, the name under which the business
13                     is conducted shall be used.
14            ANSWER:
15            The allegations of Paragraph 78 of the FAC consist of legal conclusions to which no
16    response is required. To the extent that a response is required, Nutra Holdings denies the
17    allegations in Paragraph 78 to the extent that they mischaracterize, misstate and misapply
18    the relevant and applicable law. Nutra Holdings further denies that the Androsurge product
19    is an “unapproved” drug. Nutra Holdings denies the remaining allegations, innuendo, and
20    legal conclusions set forth in Paragraph 78 of the FAC.
21            79.      Here, Defendants violate 21 C.F.R. § 101.5 §§ (a)-(c).
22            ANSWER:
23            Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
24    Paragraph 79 of the FAC.
25            80.      Specifically, they violate 21 C.F.R. § 101.5(a) because the Androsurge label does
26    not “specify conspicuously the name and place of business of the manufacturer, packer, or
27    distributor.”
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                                                               31
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 1           ANSWER:
 2           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 3    Paragraph 80 of the FAC.
 4           81.     Defendants violate 21 C.F.R. § 10l.5(b) because the Androsurge label does not
 5    bear Nutra Holdings’ “actual corporate name.” Rather, the label states that the product is
 6    “Manufactured for Jacked Factory.” However, “Jacked Factory” is not a corporation, but a
 7    trademark controlled by Defendants.

 8           ANSWER:

 9           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

10    Paragraph 81 of the FAC.

11           82.     Further, pursuant to 21 C.F.R. § 101.5(d), supplement manufacturers are required

12    to provide a “statement of the place of business” on the product label, which

13              shall include the street address, city, State, and ZIP code; however, the street
                address may be omitted if it is shown in a current city directory or telephone
14              directory. The requirement for inclusion of the ZIP code shall apply only to
                consumer commodity labels developed or revised after the effective date of this
15              section. In the case of nonconsumer packages, the ZIP code shall appear either on
16              the label or the labeling (including invoice).

17           ANSWER:
18           The allegations of Paragraph 82 of the FAC consist of legal conclusions to which no
19    response is required. To the extent that a response is required, Nutra Holdings denies the
20    allegations in Paragraph 82 to the extent that they mischaracterize, misstate and misapply
21    the relevant and applicable law. Nutra Holdings denies the remaining allegations, innuendo,
22    and legal conclusions set forth in Paragraph 82 of the FAC.
23           83.     Here, Defendants fail to provide “statement of the place of business” as required
24    by 21 C.F.R. § 101.5(d).
25           ANSWER:

26           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

27    Paragraph 83 of the FAC.

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 1           84.    Specifically, Defendants fail to “include the street address.”
 2           ANSWER:
 3           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 4    Paragraph 84 of the FAC.
 5           85.    The label reads: “Manufactured for Jacked Factory, St John’s, NL A1A 5SAl.”
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18           ANSWER:
19           Nutra Holdings admits that the language “Manufactured for Jacked Factory, St
20    John’s, NL A1A 5SA1” appears on the rear label of certain Androsurge products. Nutra
21    Holdings denies the allegations, innuendo, and legal conclusions set forth in Paragraph 85 of
22    the FAC.
23           86.    Defendants’ failure to include a street address as required constitutes a violation
24    of 21 C.F.R. § 101.5(d).
25           ANSWER:
26           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
27    Paragraph 86 of the FAC.
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 1    XI.     DEFENDANTS’ PRACTICES WERE “UNFAIR” WITHIN THE MEANING
 2                         OF THE CALIFORNIA UNFAIR COMPETITION LAW.
 3           87.     Defendants’ practices as described herein are “unfair” within the meaning of the
 4    California Unfair Competition Law because Defendants’ conduct is immoral, unethical,
 5    unscrupulous, and substantially injurious to consumers, and the utility of this conduct to
 6    Defendants does not outweigh the gravity of the harm to Defendants’ victims.
 7           ANSWER:

 8           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

 9    Paragraph 87 of the FAC.

10           88.     In particular, while Defendants’ marketing and sale of Androsurge with “drug”

11    claims as defined by 21 U.S.C. § 321(g) and absent FDA approval to do so allowed Defendants

12    to realize higher profit margins than if they did not use unlawful marketing tactics, this utility is

13    small and far outweighed by the gravity of the economic harm and potential physical harm

14    Defendants inflict upon consumers. Further, the injury to consumers from Defendants’ practices

15    is substantial, not outweighed by benefits to consumers or competition, and not an injury that

16    consumers themselves could reasonably have avoided.

17           ANSWER:

18           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

19    Paragraph 88 of the FAC.

20    XII.    DEFENDANTS’ PRACTICES WERE “UNLAWFUL” WITHIN THE MEANING

21                           OF THE CALIFORNIA UNFAIR COMPETITION LAW.

22           89.     Defendants’ practices as described herein are “unlawful” within the meaning of

23    the California Unfair Competition Law because the marketing, sale, and distribution of

24    Androsurge violates the Federal Food, Drug, and Cosmetic Act, as well as California’s Sherman

25    Food, Drug, and Cosmetic Law.

26           ANSWER:

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 1           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 2    Paragraph 89 of the FAC.
 3           90.     Defendants’ conduct described herein is “unlawful” because it violated the
 4    following portions of the Federal Food, Drug, and Cosmetic Act (“FDCA”):
 5       •   21 U.S.C. § 331(a), prohibiting the “introduction or delivery for introduction into
 6           interstate commerce of any food, drug, device, tobacco product, or cosmetic that is
             adulterated or misbranded”;
 7
         •   21 U.S.C. § 331(b), prohibiting the “adulteration or misbranding of any food, drug,
 8           device, tobacco product, or cosmetic in interstate commerce”;
 9
         •   21 U.S.C. § 352(0(1), requiring drugs to have adequate directions for use;
10
         •   21 U.S.C. § 355(a), prohibiting the sale of unapproved new drugs;
11
         •   21 C.F.R. § 101.5(a)-(b), requiring supplement labels “to conspicuously” list “the name
12
             and place of business of the manufacturer, packer, or distributor” using the “actual
13           corporate name”;

14       •   21 C.F.R. § 101.5(d), requiring supplement manufacturers to provide a “statement of
             the place of business” on product labels.
15
16           ANSWER:
17           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
18    Paragraph 90 of the FAC.
19           91.     Defendants’ conduct described herein also violates multiple provisions of
20    California law including, inter alia:
21
         •   Cal. Health & Sat Code § 110100 et seq., which adopts all FDA labeling regulations as
22           state regulations;

23       •   Cal. Health & Saf. Code § 111330, “Any drug or device is misbranded if its labeling is
             false or misleading in any particular.”;
24
25       •   Cal. Health & Saf. Code § 110398, “It is unlawful for any person to advertise any
             food, drug, device, or cosmetic that is adulterated or misbranded.”;
26
         •   Cal. Health & Saf. Code § 111440, “It is unlawful for any person to manufacture, sell,
27           deliver, hold, or offer for sale any drug or device that is misbranded.”;
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         •   Cal. Health & Saf. Code § 111445, “It is unlawful for any person to misbrand any drug
 1
             or device.”,
 2
         •   Cal. Health & Saf. Code § 111450, “It is unlawful for any person to receive in
 3           commerce any drug or device that is misbranded or to deliver or proffer for delivery any
             drug or device.”;
 4
 5       •   Cal. Health & Saf. Code § 111550, prohibiting sale of new drug unless approved under
             21 U.S.C. § 355.
 6
 7           ANSWER:

 8           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

 9    Paragraph 91 of the FAC.

10           92.    Defendants’ unlawful marketing and advertising of Androsurge constitutes a

11    violation of the FDCA and the Sherman Law and, as such, violated the “unlawful” prong of the

12    UCL.

13           ANSWER:

14           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

15    Paragraph 92 of the FAC.

16           93.    Defendants’ unlawful acts allowed them to sell more units of Androsurge, than

17    they would have otherwise, and at a higher price and higher margin.

18           ANSWER:

19           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

20    Paragraph 93 of the FAC.

21           94.    In accordance with Cal. Bus. & Prof. Code § 17203, Plaintiff seeks an order

22    enjoining Defendants from continuing to conduct business through unlawful, unfair, and/or

23    fraudulent acts and practices and to commence a corrective advertising campaign.
             ANSWER:
24
             Nutra Holdings admits that Plaintiff seeks injunctive relief. Nutra Holdings denies
25
      that Plaintiff is entitled to any injunctive relief or any relief whatsoever. Nutra Holdings
26
      denies the allegations, innuendo, and legal conclusions set forth in Paragraph 94 of the FAC.
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 1            95.       Plaintiff also seeks an order for the disgorgement and restitution of all revenue
 2    received by Defendants from the sale of Androsurge.
 3            ANSWER:
 4            Nutra Holdings admits that Plaintiff seeks disgorgement and restitution. Nutra
 5    Holdings denies that Plaintiff is entitled to any disgorgement, restitution or any relief
 6    whatsoever. Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth
 7    in Paragraph 94 of the FAC.

 8         XIII. PLAINTIFF’S PURCHASE OF ANDROSURGE AND RELATED INJURY

 9            96.       Plaintiff Stephen purchased Androsurge from Defendant Amazon’s website in

10    2023.

11            ANSWER:

12            Nutra Holdings is without knowledge or information sufficient to form a belief as to

13    the truth of Plaintiff’s allegations with respect to his purchasing habits. To the extent that

14    a response is required, Nutra Holdings denies the allegations, innuendo, and legal

15    conclusions contained in Paragraph 96 of the FAC.

16            97.       When Plaintiff purchased Androsurge, he was seeking a safe and effective

17    testosterone booster and estrogen blocker which was sold in compliance with FDA regulations

18    and California law.

19            ANSWER:

20            Nutra Holdings is without knowledge or information sufficient to form a belief as to

21    the truth of Plaintiff’s allegations with respect to his purchasing habits. To the extent that

22    a response is required, Nutra Holdings denies the allegations, innuendo, and legal

23    conclusions contained in Paragraph 97 of the FAC.

24            98.       Plaintiff purchased Androsurge believing it had the qualities he sought based on

25    the product’s labeling, website, and Amazon page and the natural assumption that products sold

26    in stores and online by large companies would be sold in compliance with FDA regulations and

27    California law.

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 1           ANSWER:
 2           Nutra Holdings is without knowledge or information sufficient to form a belief as to
 3    the truth of Plaintiff’s allegations with respect to his purchasing habits. To the extent that
 4    a response is required, Nutra Holdings denies the allegations, innuendo, and legal
 5    conclusions contained in Paragraph 98 of the FAC.
 6           99.     Plaintiff purchased Androsurge instead of competing products based on
 7    Defendants’ unlawful conduct described herein.

 8           ANSWER:

 9           Nutra Holdings is without knowledge or information sufficient to form a belief as to

10    the truth of Plaintiff’s allegations with respect to his purchasing habits. To the extent that

11    a response is required, Nutra Holdings denies the allegations, innuendo, and legal

12    conclusions contained in Paragraph 99 of the FAC.

13           100.    Plaintiff suffered economic injury when he purchased Androsurge because it was

14    not safe and effective and because it was sold in violation of FDA regulations and California law.

15           ANSWER:

16           Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

17    Paragraph 100 of the FAC.

18           101.    Plaintiff would not have purchased Androsurge had he known that the product was

19    ineffective and sold in violation of federal and California law.

20           ANSWER:

21           Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

22    Paragraph 101 of the FAC.

23           102.    Androsurge was offered for sale in violation of California and federal law and has

24    a value of $0 because it is both illegal and ineffective.

25           ANSWER:

26           Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

27    Paragraph 102 of the FAC.

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 1           103.    Plaintiff would consider purchasing Androsurge in the future if he could be
 2    assured that the product is (l) safe and effective and (2) sold in compliance with all FDA
 3    regulations and California law.
 4           ANSWER:
 5           Nutra Holdings is without knowledge or information sufficient to form a belief as to
 6    the truth of Plaintiff’s allegations with respect to his purchasing habits. To the extent that
 7    a response is required, Nutra Holdings denies the allegations, innuendo, and legal

 8    conclusions contained in Paragraph 103 of the FAC.

 9                                      XIV. DELAYED DISCOVERY

10           104.    Plaintiff Russell Stephen did not discover that Defendants’ behavior was unfair

11    and unlawful until September 2023 , when he learned that Defendants had been selling

12    Androsurge in violation of federal and California law. Until this time, he lacked the knowledge

13    regarding the facts of his claims against Defendants.

14           ANSWER:

15           Nutra Holdings is without knowledge or information sufficient to form a belief as to

16    the truth of Plaintiff’s allegations in paragraph 104 of the FAC. To the extent that a response

17    is required, Nutra Holdings denies the allegations, innuendo, and legal conclusions

18    contained in Paragraph 104 of the FAC.

19           105.    Plaintiff is a reasonably diligent consumer who exercised reasonable diligence in

20    his purchase and use of Androsurge. Nevertheless, he would not have been able to discover

21    Defendants ‘ unfair and unlawful practices and lacked the means to discover them given that, like

22    nearly all consumers, he is not an expert on FDA regulations or California law pertaining to the

23    marketing and sale of drugs.

24           ANSWER:

25           Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in

26    Paragraph 104 of the FAC.

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 1                             XV.     ADDITIONAL TOLLING ALLEGATIONS
 2              106.   At all relevant times, Defendants were aware that their marketing of Androsurge
 3    violated FDA regulations and California law.
 4              ANSWER:
 5              Nutra Holdings denies the allegations, innuendo, and legal conclusions contained in
 6    Paragraph 106 of the FAC.
 7              107.   As supplement producers and sellers, Defendants had a continuing and affirmative

 8    moral and legal obligation to refrain from marketing and selling supplements with claims that

 9    violate FDA regulations and California law.

10              ANSWER:

11              Nutra Holdings denies that the Androsurge product is an unapproved drug. Nutra

12    Holdings denies the remaining allegations, innuendo, and legal conclusions contained in

13    Paragraph 107 of the FAC.

14              108.   Plaintiff had no duty and no reason to inquire as to whether Androsurge was

15    marketed in violation of state and federal food safety laws. California, as a matter of economic

16    regulation, places the burden of ensuring that supplements are safe, effective, and sold in

17    compliance with FDA regulations and California law, on their manufacturers, not the general

18    public.

19              ANSWER:

20              The allegations of Paragraph 108 of the FAC consist of legal conclusions to which no

21    response is required. To the extent that a response is required, Nutra Holdings denies the

22    allegations in Paragraph 108 to the extent that they mischaracterize, misstate and misapply

23    the relevant and applicable law. Nutra Holdings further denies that the Androsurge product

24    is an “unapproved” drug. Nutra Holdings denies the remaining allegations, innuendo, and

25    legal conclusions set forth in Paragraph 108 of the FAC.

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                                       ANSWER AND AFFIRMATIVE DEFENSES
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 1           109.    Reasonable consumers, including Plaintiff, had no reason to suspect Defendants’
 2    unfair competition and violations of federal and state law prohibiting the sale of unapproved and
 3    misbranded drugs.
 4           ANSWER:
 5           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 6    Paragraph 109 of the FAC.
 7           110.    Defendants owed a special duty to Plaintiff, akin to a fiduciary duty, which they

 8    violated by marketing and selling Androsurge with claims that suggest the product can affect the

 9    structure or function of the human body or can treat, mitigate, or cure disease without obtaining

10    FDA approval to do so. Defendants were aware that their conduct was oppressive and cruel,

11    causing economic injury and discouraging consumers from seeking medically proven treatments,

12    yet consciously continued these acts for years while knowing the extent of the harm it was

13    causing. Equity and the public policy of California, embodied in its statutes, jointly demand, in

14    such circumstance, that laches and tolling cannot apply in such a way to permit Defendants to

15    continue to enjoy the fruits of their intentional, cruel, oppressive, and unlawful acts.

16           ANSWER:

17           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

18    Paragraph 110 of the FAC.

19                                          FIRST CAUSE OF ACTION

20                                            Unfair Competition Law,

21                                Unfair Prong, Bus. & Prof. Code 17200 et seq.

22           111.    In both causes of action, Plaintiff realleges and incorporates by reference each and

23    every allegation contained elsewhere in the Complaint, as if fully set forth herein.

24           ANSWER:

25           Nutra Holdings realleges and incorporates by reference each and every answer

26    contained elsewhere in the FAC as if fully set forth herein.

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                                     ANSWER AND AFFIRMATIVE DEFENSES
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 1           112.    The business practices and omissions of Defendants as alleged herein constitute
 2    “unfair” business acts and practices in that Defendants’ conduct is immoral, unethical,
 3    unscrupulous, and substantially injurious to consumers and the utility of its conduct, if any, does
 4    not outweigh the gravity of the harm to Defendants’ victims.
 5           ANSWER:
 6           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 7    Paragraph 112 of the FAC.

 8           113.    Further, Defendants’ practices were unfair because they violated public policy as

 9    declared by specific constitutional, statutory, or regulatory provisions, including those embodied

10    in the FDCA and the California Health and Safety Code.

11           ANSWER:

12           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

13    Paragraph 113 of the FAC.

14           114.    Moreover, Defendants’ practices were unfair because the injury to consumers

15    from Defendants’ practices was substantial, not outweighed by benefits to consumers or

16    competition, and not one that consumers themselves could reasonably have avoided or should be

17    obligated to avoid.

18           ANSWER:

19           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

20    Paragraph 114 of the FAC.

21                                        SECOND CAUSE OF ACTION

22                                            Unfair Competition Law,

23                            Unlawful Prong, Cal. Bus. & Prof. Code 17200 et seq.

24           115.    Defendants have made and distributed, in interstate commerce and in this county,

25    a product that was marketed with unlawful “drug claims” without obtaining FDA approval to do

26    so.

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 1            ANSWER:
 2            Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 3    Paragraph 115 of the FAC.
 4            116.   Defendants’ conduct violated the following portions of the Federal Food, Drug,
 5    and Cosmetic Act (“FDCA”):
 6        •   21 U.S.C. § 331(a), prohibiting the “introduction or delivery for introduction into
 7            interstate commerce of any food, drug, device, tobacco product, or cosmetic that is
              adulterated or misbranded”;
 8
          •   21 U.S.C. § 331(b), prohibiting the “adulteration or misbranding of any food, drug,
 9            device, tobacco product, or cosmetic in interstate commerce”•
10
          •   21 U.S.C. § 352(0(1), requiring drugs to have adequate directions for use;
11
          •   21 U.S.C. § 355(a), prohibiting the sale of unapproved new drugs; and
12
          •   21 C.F.R. § 101.5(a)-(b), requiring supplement labels “to conspicuously” list “the name
13            and place of business of the manufacturer, packer, or distributor” using the “actual
14            corporate name”;

15        •   21 C.F.R. § 101.5(d), requiring supplement manufacturers to list a “statement of the
              place of business” on product labels.
16
17            ANSWER:
18            Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
19    Paragraph 116 of the FAC.
20            117.   Defendants’ conduct also violates other provisions of California law including,
21    inter alia:
22
          •   Cal. Health & Saf. Code § 110100 et seq., which adopts all FDA regulations as state
23            regulations;

24        •   Cal. Health & Saf. Code § 111330, “Any drug or device is misbranded if its labeling is
              false or misleading in any particular.”;
25
26        •   Cal. Health & Saf. Code § 110398, “It is unlawful for any person to advertise any
              food, drug, device, or cosmetic that is adulterated or misbranded.”;
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                                     ANSWER AND AFFIRMATIVE DEFENSES
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         •   Cal. Health & Saf. Code § 111440, “It is unlawful for any person to manufacture, sell,
 1
             deliver, hold, or offer for sale any drug or device that is misbranded.”;
 2
         •   Cal. Health & Saf. Code § 111445, “It is unlawful for any person to misbrand any drug
 3           or device.”,
 4       •   Cal. Health & Saf. Code § 111450, “It is unlawful for any person to receive in
 5           commerce any drug or device that is misbranded or to deliver or proffer for delivery any
             drug or device.”;
 6
         •    Cal. Health & Saf. Code § 111550, prohibiting sale of new drug unless approved
 7           under 21 U.S.C. § 355.
 8
             ANSWER:
 9
             Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
10
      Paragraph 117 of the FAC.
11
             118.    The challenged labeling and website statements made by Defendants thus
12
      constituted violations of the FDCA and the Sherman Law and, as such, violated the “unlawful”
13
      prong of the UCL.
14
             ANSWER:
15
             Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
16
      Paragraph 118 of the FAC.
17
             119.    Defendants employed unlawful marketing tactics to induce Plaintiff to purchase a
18
      product that was of lesser value and quality than advertised and which was not safe and effective,
19
      or FDA approved.
20
             ANSWER:
21
             Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
22
      Paragraph 119 of the FAC.
23
             120.    The marketing and sale of Androsurge described herein constitute violations of
24
      the FDCA and the Sherman Law and, as such, violated the “unlawful” prong of the UCL.
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                                     ANSWER AND AFFIRMATIVE DEFENSES
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 1           ANSWER:
 2           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in
 3    Paragraph 120 of the FAC.
 4           121.    Had Plaintiff known that Androsurge was offered for sale in violation of California
 5    and federal regulations, he would not have purchased it.
 6           ANSWER:
 7           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

 8    Paragraph 121 of the FAC.

 9           122.    Plaintiff suffered injury in fact and lost money or property as a result of

10    Defendants’ unlawful conduct: he was denied the benefit of the bargain when he decided to

11    purchase Androsurge over competing products, which are legal, less expensive, and do not make

12    drug claims on their packaging and web properties.

13           ANSWER:

14           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

15    Paragraph 122 of the FAC.

16           123.    Defendants’ unlawful acts allowed them to sell more units of Androsurge than

17    they would have otherwise, and at a higher price, and higher margin.

18           ANSWER:

19           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

20    Paragraph 123 of the FAC.

21           124.    Had Plaintiff been aware of Defendants’ unlawful marketing tactics, he would not

22    have purchased Androsurge, and had Defendants not advertised and sold Androsurge in an

23    unlawful manner, Plaintiff would have paid less for it.

24           ANSWER:

25           Nutra Holdings denies the allegations, innuendo, and legal conclusions set forth in

26    Paragraph 124 of the FAC.

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                                     ANSWER AND AFFIRMATIVE DEFENSES
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 1                                             PRAYER FOR RELIEF
 2           WHEREFORE, Plaintiff, prays for judgment against Defendants as follows:
 3           A.      An award of restitution of $39 to Plaintiff Russell Stephen;
 4           B.      A temporary restraining order, preliminary injunction, and permanent injunction;
 5           C.      A service award of $4,000 to Plaintiff Russell Stephen for obtaining an injunction
 6    on behalf of the public;
 7           D.      An order requiring Defendants to conduct a corrective advertising campaign;

 8           E.      Declaratory relief that the conduct alleged herein is unlawful;

 9           F.      Pre-judgment, and post-judgment interest; and

10           G.      An award of attorney fees and costs.

11           Wherefore, Nutra Holdings denies that Plaintiff is entitled to the relief specified in

12    the FAC, or any other relief. Nutra Holdings respectfully requests that this Court deny all

13    such relief, and grant judgment in favor of Nutra Holdings. Nutra Holdings further

14    requests that it be awarded costs of suit, attorneys’ fees, and any other relief the Court

15    deems proper.

16     NUTRA HOLDINGS, INC. AND NUTRA HOLDINGS TWO, INC.’S AFFIRMATIVE

17                                                DEFENSES

18           Nutra Holdings, Inc. and Nutra Holdings Two, Inc. (“Nutra Holdings”), by and through

19    their attorneys, for their Affirmative Defenses, states as follows. Nutra Holdings reserves the

20    right to assert additional affirmative defenses that discovery indicates are proper.

21                                            First Affirmative Defense

22                                            (Lack of Standing)

23           1.      Plaintiff lacks standing to pursue his purported claims, and/or seek the relief

24    sought by the FAC against Nutra Holdings. On information and belief, Plaintiff lacks standing

25    because (1) he did not purchase the Products; (2) he did not purchase the Products prior to

26    obtaining knowledge of the allegations that form the basis of this lawsuit; (3) the terms of the

27    challenged statements were and are not material to him; (4) he did not reasonably rely on the

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                                     ANSWER AND AFFIRMATIVE DEFENSES
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 1    labels or product marketing; (5) Plaintiff is not able to demonstrate any likelihood of future harm;
 2    and/or (6) Plaintiff is unable to demonstrate that he suffered any cognizable injury, including for
 3    the foregoing reasons.
 4                                          Second Affirmative Defense
 5                                               (Lack of Causation)
 6           2.      Plaintiff lacks causation because any purported reliance and/or injury alleged in
 7    the FAC was not caused by the Androsurge product’s labels or marketing statements.

 8                                           Third Affirmative Defense

 9                                               (Failure to Mitigate)

10           3.      On information and belief, Plaintiff failed to mitigate any harms alleged in the

11    FAC, including by failing to act reasonably, and continuing to purchase the Androsurge product

12    after learning the purported facts on which he basis his FAC.

13                                          Fourth Affirmative Defense

14                                                      (Waiver)

15           4.      Plaintiff waived any right to complain about the Androsurge product when he

16    purchased the product with full knowledge of its contents and/or the potential effects thereof,

17    and/or Plaintiff assumed any alleged risks from using the Androsurge product.

18                                            Fifth Affirmative Defense

19                                         (Voluntary Payment Doctrine)

20           5.      Plaintiff’s claims and/or requests for relief are barred, in whole or in part, by the

21    voluntary payment doctrine, because Plaintiff voluntarily paid for the Androsurge product with

22    full knowledge of the facts and circumstances pursuant to which such amounts were paid.

23                                            Sixth Affirmative Defense

24                                 (Laches/Failure to Notify in Reasonable Time)

25           6.      Plaintiff’s claims are barred due to the doctrine of laches, or for his failure to

26    timely provide notice of any purported issues concerning the Androsurge products within a

27    reasonable period of time.

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                                     ANSWER AND AFFIRMATIVE DEFENSES
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 1                                          Seventh Affirmative Defense
 2                                  (Judicial Abstention/Primary Jurisdiction)
 3           7.      Plaintiff’s claims should be dismissed, and/or this action should be stayed under
 4    the doctrines of judicial abstention and/or primary jurisdiction.
 5                                           Eighth Affirmative Defense
 6                                                   (Preemption)
 7           8.      Some and/or all of Plaintiff’s claims, and/or the relief requested in the FAC are

 8    preempted by federal laws and regulations, including under the doctrines of express and implied

 9    preemption.

10                                           Ninth Affirmative Defense

11                                                      (Offset)

12           9.      Even if Plaintiff was entitled to any monetary relief, which Nutra Holdings

13    denies, Nutra Holdings is entitled to offset them by any benefits received by Plaintiff from his

14    and/or others’ use of the Products.

15                                           Tenth Affirmative Defense

16                                                 (Unclean Hands)

17           10.     Plaintiff’s claims are barred by the doctrine of unclean hands. Upon information

18    and believe, Plaintiff returned the Androsurge product at issue and received a full refund.

19           11.     Nutra Holdings further alleges, on information and belief, that Plaintiff is a serial

20    returner on Amazon and such inequitable behavior bars recovery in this action.

21                                          Eleventh Affirmative Defense

22                                             (Speculative Damages)

23           12.     Any losses or damages allegedly sustained by Plaintiff, if any, are de minimis,

24    remote, speculative, or transient and, hence, not cognizable by law, including because Plaintiff

25    returned the Androsurge product at issue and received a full refund.

26                                          Twelfth Affirmative Defense

27                                       (Statutes of Limitations, Repose)

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 1              13.   Plaintiff’s claims are barred and/or limited by the applicable statutes of limitation.
 2    Upon information and belief, Plaintiff filed this action after the date that triggers the applicable
 3    statute of limitations, and after the expiration of any applicable statutes of repose.
 4                                         Thirteenth Affirmative Defense
 5                                             (Failure to State a Claim)
 6              14.   The FAC fails to state a claim upon which relief can be granted.
 7                                         Fourteenth Affirmative Defense

 8                                                (Unjust Enrichment)

 9              15.   On information and belief, Plaintiff is barred from recovery to the extent that he

10    would be unjustly enriched by any recovery, because he received the benefit of the bargain when

11    he purchased the Product, and returned the Androsurge product at issue and received a full

12    refund.

13                                          Fifteenth Affirmative Defense

14                                                       (Misuse)

15              16.   Plaintiff’s claims are barred to the extent Plaintiff misused the Products.

16                                          Sixteenth Affirmative Defense

17                                  (Safe Harbor/Compliance with Law)

18              17.   Plaintiff’s claims and/or requests for relief are barred by the safe harbor doctrine,

19    including because Defendant fully complied with all statutes and regulations in effect during the

20    relevant time period.

21                                        Seventeenth Affirmative Defense

22                                            (Adequate Remedy at Law)

23              18.   Plaintiff’s claims for injunctive, restitutionary, or other equitable relief are barred

24    because there is an adequate remedy at law.

25                                                      * * * * *

26              19.   Nutra Holdings presently has insufficient information or knowledge on which to

27    form a belief as to whether it may have additional, as yet unstated, affirmative defenses available

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                                      ANSWER AND AFFIRMATIVE DEFENSES
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 1    for its benefit. Nutra Holdings thereby reserves herein its right to assert additional affirmative
 2    defenses in the event discovery indicates that such affirmative defenses would be appropriate.
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 4
        DATED: July 29, 2024                                     STEPTOE LLP
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 7                                                              Carol Brophy
                                                                Anthony Hopp (Pro Hac Vice
 8
                                                                Forthcoming)
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